    Case: 1:17-cv-03640 Document #: 44 Filed: 12/11/17 Page 1 of 2 PageID #:215




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS,
                           EASTERN DIVISION

Jennifer Ohlman, on behalf of herself
and all others similarly situated,            )
                                              )
             Plaintiff,                       )
                                              )          No. 17 cv 3640
      v.                                      )
                                              )          Judge St. Eve
CenturyLink, Inc.,                            )
  dba Central Telephone and Electronics, Inc.,)
  dba Century Telephone Enterprises, Inc., )
  dba CenturyTel, Inc.,                       )
Qwest Corporation,                            )
  dba CenturyLink QC,                         )
  dba Qwest Corporation Spirit of Service,    )
and Clear Link Technologies, LLC,             )
                                              )
             Defendants.                      )

                      AMENDED STIPULATION TO DISMISS

       Plaintiff Jennifer Ohlman and Defendants CenturyLink, Inc., Qwest Corporation,

and Clear Link Technologies, LLC jointly stipulate and agree that any and all claims filed

by Plaintiff against Defendants in this action shall be dismissed, in their entirety, with

prejudice. Claims of any absent class members, no class having been certified in this

matter, shall be dismissed without prejudice.

       Each party shall bear its own costs and attorneys’ fees.

                                          Respectfully Submitted:

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                                             1
Case: 1:17-cv-03640 Document #: 44 Filed: 12/11/17 Page 2 of 2 PageID #:216




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                                  By:/s/ Peter J. Korneffel, Jr.

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                                  By: /s/ Eric M. Roberts

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                                    2
